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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1456V
                                      Filed: June 20, 2016
                                         UNPUBLISHED
*********************************
OLGA GALVIS,                                      *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
John Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Lisa Watts, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On December 2, 2015, Olga Galvis (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleged that she suffered a shoulder
injury related to vaccine administration (“SIRVA”) caused in fact by the tetanus,
diphtheria, acellular pertussis (“Tdap”) vaccination she received on August 14, 2014.
Petition at 1, ¶ 19. On May 25, 2016, the undersigned issued a decision awarding
compensation to petitioner based on respondent’s proffer to which petitioner agreed.
(ECF No. 19).




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 16, 2016, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 23).3 Petitioner requests attorneys’ fees in the amount of $12,399.00
and attorneys’ costs in the amount of $772.91 for a total amount of $13,171.91. Id. at 1.
In compliance with General Order #9, petitioner has filed a signed statement indicating
petitioner incurred no out-of-pocket expenses. See id., Attachment 2.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $13,171.914 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
John Howie, Jr.

          The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3   The motion was filed as an unopposed motion and specifically states that respondent has no objection.

4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
